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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                          NORTHERN DIVISION

PARRIS HILL                                                            PLAINTIFF
#0033839

V.                          NO. 3:21-cv-165-DPM-ERE

GREENE COUNTY, et al.                                              DEFENDANTS

                                      ORDER

        The Court recently adopted the Recommendation that Plaintiff Parris Hill be

allowed to proceed on his excessive-force claims against Defendants Morgan

Robertson, Falicia Rowland, Massey, Dillon Mason, and Daniel Chad. Doc. 12. The

Court dismissed all other claims and Defendants from this lawsuit. Id. Therefore,

service is now proper for Defendants Robertson, Rowland, Massey, Mason, and

Chad.

        IT IS THEREFORE ORDERED THAT:

        1.    The Clerk of Court is directed to prepare summonses for Defendants

Morgan Robertson, Falicia Rowland, Massey, Dillon Mason, and Daniel Chad.

        2.    The United States Marshal is directed to serve each of these Defendants

with a summons, a copy of the complaint, and the amended complaints (Docs. 2, 6,

8), including any attachments, without requiring prepayment of fees and costs or

security. Service for these Defendants should be attempted through the Greene
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County Detention Center, 1809 North Rocking Chair Road, Paragould, Arkansas

72450.

     DATED this 10th day of November, 2021.




                                  ____________________________________
                                  UNITED STATES MAGISTRATE JUDGE




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